Case 2:25-cv-00028-HYJ-MV ECF No.5, PagelD.50 Filed 02/26/25 Pagei1of3

| : FILED - MQ
| February Zo, 202.5 February 26, 2025 9:29 AM

U.S. DISTRICT COURT

BY: sk

_Cherk of Court

_ WESTERN DISTRICT OF MICHIGAN ———
~2- Ss

| United States District Court For The Western District of =a

Michigan
Ro, Box 69%
330 Federol Building
| Marquette, MI 49855

Re: Case No. 2: 25-cy-28
orn. Halo Y. Tarbay

| Dear Modom [: Sir Cleric

To&sy, XX uss semed Witha SUNKONS IN A NIL
Action Pertaining To the ohwe listed case. Tom
| declaring myself Unoble to afford to hire counsel in
Order to properly litigote this issue and cum inquiring
Whether it is pasate to request Court-aprointed
_ Counsel to fepresent me. TE his js possible (STI on

hereby Tequesting Such.

Also, please inform me as fo whether there is an
offical form on which I am to file my answer
Vo the items \iste& in the complaint. © So, Please
Aormord that form to me at the oddftess listed
below.
Case 2:25-cv-00028-HYJ-MV ECF No.5, PagelD.51 Filed 02/26/25 Page 2of3

Please fesfonk as Soo aS possible ,sS time is

of the essence. F only hove ontil March 13,2025 _
Xo fle my answer.

Thank You jn advance Yor your assistance.

_ Rest Regards,

i Bid Welfer+
—R/.

| Mailing Addsess :

— Morquette Branch Prisen.
_\A60_U.S. 4 South _

_.Morquette, ME 49955
N
on
Oo
NA
—
N
Oo
3
2
LL

AY J-MIY « ECF No. 5, PagelD.52

romana Sth Tee RaRRET

FEag, \P

N QLJV XY “OF
WoEYPIW 40

PWS] Wasa, SAL JY 4499} UySIQ SB_ALS "Pah
WSD YO AID
mene | . SS8bh <W ‘ol

“SYA 0

‘ssouppy

